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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division


UNITED STATES OF AMERICA

v.                                                             Criminal Case No. 3:25MJ054

LUIS ALONSO ARGUETA-DIAZ,

          Defendant.

                              TEMPORARY DETENTION ORDER

          Upon motion of the United States Attorney, and finding that this case involves (1) an

offense described in 18 U.S.C. § 3142(f)(1)(A)-(E) or (2) a serious risk that the defendant will

flee or will, or will attempt to, obstruct justice or threaten, injure, or intimidate a prospective

witness or juror, pursuant to 18 U.S.C. § 3142(f)(2)(A)-(B), it is ORDERED that:

          1. The defendant is committed to the custody of the Attorney General of the United

States pursuant to 18 U.S.C. § 3142(i) for confinement in a corrections facility, separate, to the

extent practicable, from persons awaiting or serving sentences or being held in custody pending

appeal.

          2. The defendant be afforded reasonable opportunity to consult with his attorney.

          3. That the person in charge of the corrections facility deliver the defendant to the United

States Marshal, and the United States Marshal produce the defendant before this Court on

May 21, 2025, at 3:30 p.m. for an identity hearing, preliminary hearing, and detention hearing.

          4. The Clerk is directed to FILE this Order electronically and notify all counsel of record

and the United States Marshals Service, Richmond Division, accordingly.


                                                                            /s/
                                                               Mark R. Colombell
                                                               United States Magistrate Judge

Dated: May 19, 2025
Richmond, Virginia
